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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 JAMES CARSON & ERIC LUCERO,
        Plaintiffs,
                      v.
                                                Case No. 0:20-cv-02030-NEB-TNL
 STEVE SIMON, Secretary of State of
 the State of Minnesota, in his official
 capacity,
        Defendant.

 and

 ROBERT LAROSE, TERESA
 MAPLES, MARY SANSOM, GARY
 SEVERSON, & MINNESOTA
 ALLIANCE FOR RETIRED
 AMERICANS EDUCATIONAL
 FUND,
        Intervenor-Defendants.

       PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL

       Plaintiffs, James Carson and Eric Lucero, respectfully move the Court for an

injunction during the pendency of Plaintiffs’ appeal to the Eighth Circuit, enjoining

Defendant, Steve Simon, from permitting ballots that arrive at polling places after 8:00

p.m. on Election Day to be counted in the November 3, 2020 presidential election.

The Defendant’s stated policy of counting late ballots violates Article II of the U.S.

Constitution and 3 U.S.C. § 1 and will impose irreparable harm on Plaintiffs by dilut-

ing their votes and threatening their ability to participate in the electoral college. The

balance of equities and public interest support an injunction to protect all voters in

Minnesota and to preserve the integrity of the statewide vote.
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      Plaintiffs respectfully request that the Rule 65(c) bond amount, if any be re-

quired, be set at one dollar, as the “injunction will cause no harm” to Defendant.

Northshor Experience, Inc. v. City of Duluth, 442 F. Supp. 2d 713, 723 (D. Minn. 2006)

(declining to impose a bond in a constitutional case); Bukaka, Inc. v. Cty. of Benton, 852

F. Supp. 807, 813 (D. Minn. 1993) (same).

      Plaintiffs respectfully request expedited handling of this motion due to the im-

minent election and statutory ballot-receipt deadline of 8:00 p.m., November 3, 2020.

Given the exigencies of this case, Plaintiffs respectfully request a ruling by noon on

Thursday, October 15, 2020, so they may, if necessary, seek timely relief from the

Eighth Circuit.

      The bases of this motion are set forth fully in the accompanying Memorandum.

For reasons stated there, the Court should grant the motion.




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Date: October 12, 2020                   Respectfully submitted,


                                         /s/ Danyll W. Foix
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*admitted pro hac vice
** pro hac vice motion pending




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